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                            IN THE UNITED STATES DISTRICT COURT

                         FOR THE WESTERN DISTRICT OF LOUISIANA

                                             MONROE DIVISION

 UNITED STATES OF AMERICA                                      *     CRIMINAL NO. 03-30013

 VERSUS                                                        *     JUDGE ROBERT G. JAMES

 MARVIN EUGENE CHAPPELL                                        *     MAG. JUDGE KAREN L. HAYES



                                 REPORT AND RECOMMENDATION
         Before the undersigned magistrate judge, on reference from the district court, is a motion to

 vacate, set aside, or correct sentence under 28 U.S.C. § 2255 by petitioner Marvin Eugene Chappell.

 The petition was signed by the petitioner on March 2, 2011, and received by this court on March 14,

 2011,. Doc. # 321. For reasons stated below, it is recommended that the motion be DENIED.

                                                BACKGROUND
         On March 17, 2004, Petitioner Marvin Eugene Chappell pled guilty to conspiracy to

 distribute 50 grams or more of crack cocaine.1 Following petitioner’s plea, the Court held a

 hearing on July 22, 2005, and sentenced petitioner as a career offender under U.S.S.G. § 4B1.1 to

 292 months imprisonment, within the range recommended under the United States Sentencing

 Commission’s Guidelines (“the Guidelines”). A Judgment imposing that term of imprisonment

 was signed on July 25, 2005. Doc. # 227.

         Plaintiff filed a Notice of Appeal to the Fifth Circuit Court of Appeals on July 29, 2005.

 Doc. # 228. On September 19, 2006, the Fifth Circuit denied petitioner’s appeal as frivolous.

         After amendments to U.S.S.G. § 2D1.1, the Guidelines for crack cocaine offenses, took

 effect in November 2007, the Court reviewed petitioner’s case to determine if he should receive a

 reduction in his term of imprisonment under 18 U.S.C. § 3582(c)(2). In an Order dated August



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          Petitioner later attempted to withdraw his guilty plea, but District Judge Robert G. James denied his
 motion. Doc. Nos. 220 & 221.
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 11, 2008, Judge James determined that petitioner was not entitled to a reduction in his term of

 imprisonment. Doc. # 257. In his opposition to the Order, petitioner argued that he was

 improperly sentenced as a career offender. Doc. # 277. One of his predicate offenses was for

 delivery of a controlled substance under Texas law, but after petitioner was sentenced, the Fifth

 Circuit ruled that delivery of a controlled substance in Texas includes an “offer to sell” and that

 an “offer to sell” is not a controlled substance offense.2 United States v. Price, 516 F.3d 285 (5th

 Cir. 2008). Petitioner argued that he should not have been sentenced as a career offender under §

 4B1.1, but under § 2D1.1, and, thus, he was entitled to a reduction in his term of imprisonment.
          On June 19, 2009, Judge James overruled petitioner’s objections and determined that he

 was ineligible for a sentence reduction. Doc. # 280. In so ruling, Judge James noted that he

 lacked authority under § 3582(c)(2) to reduce petitioner’s term of imprisonment, because

 petitioner was not “sentenced to a term of imprisonment based on a sentencing range that has

 subsequently been lowered by the Sentencing Commission.” Id., citing United States v. Moore,

 308 Fed.Appx. 860, 2009 WL 247826 (5th Cir. Feb. 3, 2009). Judge James further noted that, to

 the extent that petitioner may be entitled to relief based on the Fifth Circuit’s decision in Price,

 supra, § 3582(c)(2) is not the appropriate vehicle; rather, petitioner would need to request such

 relief in a motion to vacate, set aside or reduce sentence pursuant to 28 U.S.C. § 2255. Id.

          On July 22, 2009, petitioner filed his Notice of Appeal of Judge James’ ruling denying

 petitioner a sentence reduction. Doc. # 287. On May 17, 2010, the Fifth Circuit denied

 petitioner’s appeal. Doc. # 314. Petitioner then filed a motion in this Court to alter or amend his

 judgment pursuant to Rule 60(B). Doc. # 317. Petitioner argued that being sentenced as a

          2
            The Indictment charged that Price did “‘knowingly and intentionally deliver, to wit: actually transfer,
 constructively transfer and offer to sell a controlled substance, to wit: COCAINE’ in violation of section 481.112(a)
 of the Texas Health and Safety Code.” United States v. Price, 516 F.3d 285, 288 (5th Cir. 2008). The definition of
 “drug trafficking offense” under the Guidelines “covers only the manufacture, import, export, distribution, or
 dispensing of a controlled substance (or possession with the intent to do any of these things).” Id. at 287 (quoting
 United States v. Gonzales, 484 F.3d 712, 714-15 (5th Cir. 2007) (internal quotation marks and other citations
 omitted)). W hile the actual transfer (i.e. distribution), and perhaps the constructive transfer, of a controlled
 substances is a controlled substance offense, Price’s Indictment left open the possibility that he was convicted for
 merely offering to sell a controlled substance. Price, 516 F.3d at 288-89.

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 “‘Career Offender’ under § 4B1.1 is a unconstitutional sentence” based on Price, supra. Id., p. 1.

 Petitioner further argued that he is entitled to relief from the Court’s Judgment under the “Teague

 exception.” Id., p. 2.

          On December 28, 2010, Judge James denied petitioner’s motion to alter or amend his

 judgment, noting that Price did not establish a new constitutional rule of criminal procedure, but

 rather a new substantive rule. United States v. Gentry, 432 F.3d 600, 603 (5th Cir. 2005).

 Therefore, Judge James determined Teague v. Lane, 489 U.S. 288, 301 (1989) to be inapplicable

 to petitioner’s argument. Doc. # 318.
          Judge James also observed that petitioner had not stated a basis for relief under Federal

 Rule of Civil Procedure 60(b), inasmuch as petitioner continued to challenge his underlying

 sentence. Id. In order to raise such a challenge, petitioner should have filed a petition under 28

 U.S.C. § 2255:

        The Court can only assume that he has failed to file a § 2255 petition because it
        would be untimely if he filed the petition now, more than four years after his
        Judgment became final. See [Doc. No. 237]; see also 28 U.S.C. § 2255(f) (“1-
        year period of limitation shall apply to a motion under this section. The limitation
        period shall run from the latest of--(1) the date on which the judgment of
        conviction became final; (2) the date on which the impediment to making a
        motion created by governmental action in violation of the Constitution or laws of
        the United States is removed, if the movant was prevented from making a motion
        by such governmental action; (3) the date on which the right asserted was initially
        recognized by the Supreme Court, if that right has been newly recognized by the
        Supreme Court and made retroactively applicable to cases on collateral review; or
        (4) the date on which the facts supporting the claim or claims presented could
        have been discovered through the exercise of due diligence.”).
 Doc. # 318.

          Petitioner asserts the following grounds for relief:

          (1)      Petitioner’s “sentence was imposed in violation of the Constitution [or]
                   laws of the United States.” Doc. # 321.

          (2)      Petitioner “challenge[s] the validity of his federal conviction and sentence as a
                   career offender.” Id.3

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           On May 31, 2011, petitioner filed a “First Objection and Answer” in response to the Government’s
 response to the underlying motion. Doc. # 329. In this document, petitioner alleges that he is “not contending that
 he should not have been sentence[d] under U.S.S.G. § 201.1, the guideline for crack cocaine...” Doc. # 329, p. 1.

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                                             LAW AND ANALYSIS

 I.       Petitioner’s Motion is Untimely Filed
          In response to the motion, the government notes that the motion is untimely. Pursuant to

 28 U.S.C. § 2255, a § 2255 motion should be filed as follows:

          A one year period of limitation shall apply to a motion under this Section; the
          limitation period shall run from the latest of: (1) the date on which the judgment
          of conviction becomes final; (2) the date on which the impediment to making a
          motion created by governmental action in violation of the Constitution or laws of
          the United States is removed, if the movant was prevented from making a motion
          by such governmental action; (3) the date on which the right asserted was initially
          recognized by the Supreme Court, if that right has been newly recognized by the
          Supreme Court and made retroactively applicable to cases on collateral review; or
          (4) the date on which the facts supporting the claim or claims presented could
          have been discovered through the exercise of due diligence.

          At the time petitioner filed the pending motion, his conviction had been final for well

 over a year. Petitioner concedes as much in his motion. See Doc. # 321. Petitioner’s

 explanation for why the one-year statute of limitations does not bar his current motion is unclear;

 petitioner argues that “[a]n illegal sentence can be open at anytime... [and] may be corrected at

 anytime by the Court...” Doc. # 321. In his Supplemental Memorandum in Support of the

 underlying motion, petitioner indicates that he is “factually innocent” of the crimes for which he

 was charged, in that, “in light of all of the evidence as related to the sentence, that the trier of

 facts would show that the petitioner’s prior sentence is a simple possession and does not

 constitute a controlled substance offense as to 4B1.1(A) of the Career Offender Statute.” Salinas

 v. United States, 547 U.S. 188 (2006); United States v. Nichols; 2010LEXIS 114949 (D. Kan.

 Oct. 28, 2010) [doc. # 326]. Petitioner further argues that he was not given “constitutional

 notice” of the “new interpretation” of simple possession outlined in Price, supra. Id. Finally,

 petitioner also contends that equitable tolling applies to the case sub judice. Id.



 Petitioner further asserts that Teague v. Lane is not a basis for his § 2255 motion, and petitioner objects to any
 dismissal of petitioner’s case on the basis of Teague, as it is “not the petitioner’s argument.” Id. at p. 2 (citing
 Teague v. Lane, 489 U.S. 288, 301 (1989)). As the undersigned recommends dismissal of this motion on grounds
 other than Teague v. Lane, petitioner’s argument is moot.

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          As stated supra, the one-year period of limitation for filing a § 2255 motion usually

 begins to run on “the date on which the judgment of conviction becomes final.” 28 U.S.C. §

 2255(f)(1). Where, as here, the party seeking to challenge his sentence under a § 2255 did not

 file a petition for writ of certiorari with the Supreme Court as part of his direct appeal, “a

 judgment of conviction becomes final when the time expires for filing a petition for certiorari

 contesting the appellate court’s affirmation of the conviction.” Clay v. United States, 537 U.S.

 522, 525 (2003). The time for filing a petition of certiorari expires ninety days after the entry of

 judgment by the federal court of appeals. Sup.Ct.R. 13.1.
          Petitioner’s conviction became final 90 days after September 19, 2006, the date when the

 Fifth Circuit dismissed the defendant’s appeal as frivolous. Doc. # 237. Petitioner’s appeal of

 the denial of the motion to modify his sentence under § 3582(c)(2) did not affect the finality of

 the judgment, United States v. Sanders, 247 F.3d 139, 143 (4th Cir. 2001) (later modification to a

 sentence does not affect the date on which the judgment of conviction became final); United

 States v. Jackson, No. 09-CV-0025, 2010 WL 2522720 *2 (S.D. Miss. 6/15/2010) (“a sentencing

 reduction...does not deprive the underlying judgment of its finality for purposes of a collateral

 attack under 28 U.S.C. § 2255, and thus does not operate to restart the one-year limitations

 period applicable to such motions”); see also United States v. Ticchiarelli, 171 F.3d 24, 36 (1st

 Cir. 1999).4

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             As noted by the Court in U.S. v. Jackson, Congress “specifically considered” whether a sentence reduction
 would affect a judgment’s finality, and “concluded that it does not deprive an otherwise final judgment of its
 finality.” 2010 W L 2522720 at *2. 18 U.S.C. § 3582(b) illustrates Congress’ reasoning as follows:

          (b) Effect of finality of judgment.-Notwithstanding the fact that a sentence to imprisonment can
          subsequently be-

                   (1) modified pursuant to the provisions of subsection (c);

                   (2) corrected pursuant to the provisions of rule 35 of the Federal Rules of Criminal
                   Procedure and section 3742; or

                   (3) appealed and modified, if outside the guidelines range, pursuant to the
                   provisions of section 3742;

          a judgment of conviction that includes such a sentence constitutes a final judgment for all other

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          Petitioner’s claim does not fall within any of the other provisions listed supra. There was

 no impediment to petitioner’s filing created by government action. Insofar as petitioner seeks to

 argue that Price created a right “newly recognized by the Supreme Court,” this is not the case, as

 Price has not been recognized by the Supreme Court and, furthermore, has not been made

 retroactively applicable to cases on collateral review.5

          Finally, equitable tolling is inapplicable, as only “rare and exceptional circumstances”

 justify equitable tolling of the one-year limitation period of § 2255. Davis v. Johnson, 158 F.3d

 806, 811 (5th Cir. 1998); United States v. Riggs, 314 F.3d 796, 799 (5th Cir. 1998); United States
 v. Patterson, 211 F.3d 927, 930 (5th Cir. 2000); Fisher v. Johnson, 174 F.3d 510, 513 (5th Cir.

 1999). The defendant has the burden to establish that equitable tolling is applicable. Phillips v.

 Donnell, 216 F.3d 508, 511. In order for equitable tolling to apply, the applicant must diligently

 pursue his relief.

          Here, petitioner offers no evidence or circumstances that warrant equitable tolling, other

 than to state in a conclusory manner that it applies to his case. As discussed supra, the Price

 decision is not retroactively applicable and thus, would not toll the running of the statute of

 limitations. Even if tolling applied, petitioner’s motion would still be untimely filed, as Price

 was decided on February 1, 2009, and petitioner did not file the instant motion until March 2,

 2011–more than two years after Price. Accordingly, it is recommended that petitioner’s habeas

 corpus petition be DENIED on the grounds that it was untimely filed.



          purposes.

 § 3582(b), then, “makes clear that a judgment [of] conviction is final even though it can be appealed or modified,”
 United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.1993) (quoting legislative history) (emphasis added); see also
 United States v. Stossel, 348 F.3d 1320, 1322 (11th Cir.2003) (“Section 3582(b)(3) is not a vehicle for obtaining a
 sentence modification, but merely defines finality.”).


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           In fact, not all appellate courts have followed the holding of Price; see, United States v. Shumate, where
 the Ninth Circuit held that a prior conviction for delivery of marijuana qualified as a predicate felony controlled-
 substance offense, even if the conduct involved mere solicitation of delivery of marijuana. 329 F.3d 1026 (9th Cir.
 2003).

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                                          CONCLUSION
        For the reasons stated above, it is recommended that petitioner’s motion [doc. # 321]

 under 28 U.S.C. § 2255 be DENIED as untimely filed. Under the provisions of 28 U.S.C.

 §636(b)(1)(c) and FRCP Rule 72(b), the parties have fourteen (14) days from service of this

 Report and Recommendation to file specific, written objections with the Clerk of Court. A party

 may respond to another party’s objections within fourteen (14) days after being served with a

 copy thereof. A courtesy copy of any objection or response or request for extension of time shall

 be furnished to the District Judge at the time of filing. Timely objections will be considered by
 the District Judge before he makes a final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

 REPORT WITHIN FOURTEEN (14) BUSINESS DAYS FROM THE DATE OF ITS

 SERVICE SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN

 ERROR, FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED

 FACTUAL FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT

 JUDGE.
        THUS DONE AND SIGNED at Monroe, Louisiana, this 7th day of June, 2011.




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